          Case 2:13-md-02437-MMB Document 121 Filed 05/15/14 Page 1 of 1



                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: DOMESTIC DRYWALL                                          MDL No. 2437
ANTITRUST LITIGATION                                             13-MD-2437


THIS DOCUMENT RELATES TO:
THOMPSON RESEARCH GROUP,
MOTION TO QUASH (14-mc-52)



               ORDER GRANTING IN PART AND DENYING IN PART
           THOMPSON RESEARCH GROUP’S MOTION TO QUASH SUBPOENA

         AND NOW, this 15th day of May, 2014, upon consideration of the Motion to Quash

Subpoena submitted by nonparty Thompson Research Group (“TRG”) (ECF 1, Case No. 14-

MC-52 (E.D. Pa.)), Plaintiffs’ Memorandum in Opposition (ECF 14, Case No. 13-MC-194

(M.D. Tenn.)), TRG’s Reply in Support of its Motion (ECF 2, Case No. 14-MC-52 (E.D. Pa.)),

the oral arguments presented at the hearing held on April 24, 2014 (ECF 111), and the

supplemental letters filed by counsel (ECF 116, 13-MD-2437 (E.D. Pa.); ECF 6, Case No. 14-

MC-52 (E.D. Pa.)), it is hereby ORDERED that TRG’s Motion to Quash is GRANTED IN

PART and DENIED IN PART, for the reasons stated in the foregoing memorandum.

         Any disclosures made by TRG in compliance with Plaintiffs’ subpoena shall also be

made available to the defendants in Case No. 13-MD-2437 (E.D. Pa.).



                                                               BY THE COURT:

                                                               /s/ Michael M. Baylson
                                                               _______________________________
                                                               MICHAEL M. BAYLSON, U.S.D.J.


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